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Pro Se l (Rev. 12/16) Complaint for a Civil Case


                     Defendant No. 1
                                Name                        Parker University
                                Job or Title (if known)     College of Chiropractic
                                Street Address              2540 Walnut Hill Lane
                                City and County             Dallas, Dallas
                                State and Zip Code          Texas 75229
                                Telephone Number            214-902-3470
                                E-mail Address ((f known)   aklement~parker.edu



                     Defendant No. 2
                                Name
                                Job or Title ((fknown)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address ((fknown)

                     Defendant No. 3
                                Name
                                Job or Title (!f known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address nfknown)




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Pro Se 1 (Rev. 12116) Complaint for a Civil Case


Il.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                 1:81    Federal question                            0   Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.            If the Basis for Jurisdiction Is a Federal Question

                        List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                        are at issue in this case.
                         United States Higher Education Act, 20 U.S.C. Sec. 1070 et seq., esp. 1091a and 1091b; Rehabilitation
                         Act of 1973, 29 U.S.C. Sec. 794; Americans with Disabilities Act, 42 U.S.C. Sec. 202, as incorprated
                         against an entity whose services, programs, and activities receive federal funds; and the 5th and 14th
                         Amendments, as incorporated against an institution conducting a quasi-criminal proceeding.

          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                        1.       The Plaintiff(s)

                                 a.        If the plaintiff is an individual
                                           The plaintiff.   (name)   I
                                                                     ~~~~~~~~~~~~~~~~
                                                                                                                   , is a citizen of the
                                           State of (name) I

                                b.         If the plaintiff is a corporation
                                           The plaintiff,   (name)   I                                             • is incorporated
                                           under the laws of the State of (name) I   ~~~~~~~~~~~~~~~~~




                                           and has its principal place of business in the State of (name)
                                            I

                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                        2.      The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name) I       ~~~~~~~~~~~~~~~
                                                                                                                   , is a citizen of
                                           the State of (name)  I                                              . Or is a citizen of
                                            (foreign nation) /


                                                                                                                               Page 3 of /I..)"
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ProSe 1 (Rev.12/16)ComplaintforaCivilCase




                            b.       If the defendant is a corporation
                                     The defendant. (name) I   ~~~~~~~~~~~~~-
                                                                                                     • is incorporated under
                                     the laws of the State of (name) I                                         • and has its
                                     principal place of business in the State of (name) I~~~~~~~~~~~~~




                                     Or is incorporated under the laws of (foreif(IZ nation) I
                                                                                            ~~~~~~~~~~~~




                                     and has its principal place of business in (name) I ~~~~~~~~~~~~~




                           (If more than one defendant is named in the complaint, attach an additional page providing the
                           same information for each additional defendant.)

                  3.       The Amount in Controversy

                           The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                           stake-is more than $75,000, not counting interest and costs of court, because (explain):
                             I




ID.      Statement of Claim

         Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
         facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
         involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
         the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
         write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
         On June 20, 2014, defendant Parker University fraudulently expelled plaintiff Daniel Caldwell ("DC") from the
         Doctor of Chiropractic Program without notice prior to that day of a hearing.
         The dean of student affairs had called DC to his office that same day.
         At that hearing, DC was not informed of the allegations against him (sexual harassment and vandalism).
         DC had not committed sexual harassment nor vandalism, nor any violation of the Code of Student Conduct.
         Without due process of fair notice of the allegations against DC nor reasonable opportunity to respond, the
         committee immediately and permanently dismissed DC from Parker University.
         On June 24, 2014, before providing DC with the basis for the dismissal, the Academic and Professional
         Standards Appeals Committee denied DC's appeal, which requested to know, in identifiable terms, what the
         allegation(s) against him were.
         On June 27, 2014, the university Vice President held that due process was provided, despite lack of notice and
         opportunity to respond, and despite the conclusions of the committees being unsupported by facts.
         On July 21, 2014, the university Provost held that, in addition to upholding the dismissal, DC would be required
         to pay $6,444 to Parker University in order to obtain a transcript.
         DC timely appealed the ruling of the Provost regarding the $6,444 to the university President, who never
         responded directly.
         DC sought review by the Texas Higher Education Coordinating Board and by the Department of Education.
         Parker University offered to pay $2,556 and to release DC's transcript in exchange for a waiver of all claims.
         When DC requested clarification and made a counter-offer, Parker University withdrew the offer to settle.
         The Office of Civil Rights later determined that retaliation for protected free speech is not discrimination.


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IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the courfto order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
          As a result of attendance at Parker University, DC has outstanding student loan debts of $64,319, notated below.
          This debt is a fair and approximate representation of the actual, direct, and consequential damages caused by
          Parker University acting in bad faith, and DC asks that this court order Parker University to pay this amount.
          In addition to the claims of violation of the federal regulations which resulted in Parker's dismissal of DC and
          refusal to release DC's transcript, state law grounds for awarding damages include breach of contract, fraud, or
          quantum meruit. IA. 1.../ f e /l.(ttl 1- P 1ri ·-r;f 4-te dif 1i.1 tr f e:/.
          The $64,319 amount includes moneys received and held by Parker University for academic credit which DC
          earned but which Parker University prevented DC from transferring in order to apply to any degree or licensure.
          This amount is less than DC's net economic damages suffered as a result of lost time and opportunity caused by
          Parker's refusal to allow transfer of credit from 2013-2014, but is an appropriate estimate to avoid speculation.
          This amount does not include exemplary or punitive damages that the court may determine are appropriate.
          Loan Direct Unsubsidized Loan, Date Sep 2013, Disbursed $33,000, Principal $35,013, Interest $6,518, % 5.410
          Total $41,531
          Loan Direct Unsubsidized Loan, Date May 2014, Disbursed $9,987, Principal $10,317, Interest $1,921, % 5.410
          Total $12,238
          Loan Direct PLUS Loan, Date Sep 2013, Disbursed $8,051, Principal $8,637, Interest $1,913, % 6.410
          Total $10,550
          Status DA, Servicer DEPT OF ED/GREAT LAKES

V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:              06/20/2018


                     Signature of Plaintiff         Isl Daniel Caldwell
                     Printed Name of Plaintiff      Daniel Caldwell




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                         Case 3:18-cv-01617-C-BN Document 3 Filed 06/20/18
    1S44 (Rev.06/17)-TXND(Rev.06/17)                                              CIVIL COVER SHEET
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    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or bther I lapers llSimquDecl\)Y"ltN,Blxce as.
    provided b)! !~al. rules of_cf?UI1:. This form, approved by the Judicial Conference of the United States in September 1974, is required or the use of'l!re'Cl.6k bt<toUrlll>r th'1                                                   1
    purpose of imtJatmg the CIVIi docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF TJUS FORM)                                                                                          I                                                  ~

    I. (a) PLAINTIFFS                                                                                                     DEFENDANTS                          CLERK u.s 01srn1cr COURT                                                   f
    Daniel James Caldwell                                                                                                Parker University, College ofChir• !P..~THERN DISTRiCT OF TEXAS


           (b)   County of Residence ofFirst Listed Plaintiff            _H_arn_·...s,._T'-e~x""'a"'"s_ _ _ __              County of Residence of First Listed Defendant                     -=D..:;ac:=ll=as::z,-'T'-'e:.:.;x=as=-------
                                     (EXCEPT IN US. PLAINTIFF CASES)                                                                                (IN US. PLAINTIFF CASES ONLY)
                                                                                                                            NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND INVOLVED.

           (c)   Attorneys (Firm Name, Address. and Telephone Number)                                                           Attorneys (If Known)
    Pro Se, 3711 Southmore Blvd, Apt xxx
    Houston, TX 77004, phone number 512-761-5740
                                                                                                                                  1•18~f1617-C
    II. BASIS OF JURISDICTION (Place an -r inOneBoxOnlyJ                                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an -r in One Box for Plaintiff
                                                                                                                      (For Diversity Cases Only)                                                  and One Box for Defendant)
    CJ 1 U.S. Government                  ~3       Federal Question                                                                               PTF          DEF                                                   PTF         DEF
                 Plaintiff                            (US. Government Not a Party)                               Citizen of This State            CJ 1         CJ        Incmporated or Principal Place               CJ 4       CJ 4
                                                                                                                                                                           of Business In This State

    CJ 2 U.S. Government                  0 4 Diveisity                                                          Citizen of Another State         CJ 2          CJ 2     Incorporated and Principal Place              CJ5       CJ5
                 Defendant                      {Indicate Citizenship ofParties in Item Ill)                                                                                ofBnsiness In Another State

                                                                                                                 Citizen or Subj~t of a           ['.) 3        CJ 3     Foreign Nation                                0 6       CJ 6
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    CJ 130 Miller Act                    CJ 315 Airplane Product                   Product Liability             CJ 6900ther                                      28USC 157                               3729(a))
    CJ 140 Negotiable Instrwnent
    CJ 150 Recovery of Overpayment
             & Enforcement of Judgment
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    CJ 152 Recovery of Defaulted                 Liability                  CJ 368 Asbestos Peisonal                                                       CJ 835 Patent· Abbreviated            CJ 460 Deportation
             Student Loans               CJ 340 Marine                             Injury Product                                                                 New Drug Application           CJ 470 Racketeer Influenced and
             (Excludes Veterans)
    CJ 153 Recovery of Overpayment
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                                         CJ 345 Marine Prodnct
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    ['.) 160 Stockholders' Suits         CJ 355 Motor Vehicle               CJ 371 Truth in Lending                      Act                               CJ 862 Black Lung (923)               CJ 850 Securities/Commodities/
    CJ 190 Other Contract                       Product Liability           CJ 380 Other Peisonal                CJ 720 Labor/Management                   CJ 863 DIWCIDIWW (405(g))                      Exchange
    CJ 195 Contract Product Liability    0 360 Other Peisonal                      Property Damage                       Relations                         CJ 864 SSID Title XVI                 CJ 890 Other Statntory Actions
    ['.) 196 Franchise                          Injury                      CJ 385 Property Damage               CJ 740 Railway Labor Act                  CJ 865 RSI (405(g))                   CJ 891 Agricnltural Acts
                                         CJ 362 Personal Injury •                  Product Liability             CJ 751 Family and Medical                                                       ['.) 893 Environmen1al Matters

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       210 Land Condemnation             CJ 440 Other Civil Rights               Habeas Corpus:                  CJ 791 Employee Retirement                CJ 870 Taxes (U.S. Plaintiff
    CJ 220 Foreclosure                   CJ 441 Voting                      CJ 463 Alien Detainee                       Income Security Act                       or Defendant)                  ['.) 899 Administrative Procedure
    CJ 230 Rent Lease & Ejectment        CJ 442 Employment                  CJ 510 Motions to Vacate                                                       CJ 871 IRS-Third Party                         Act/Review or Appeal of
    ['.)
       240 Torts to Land                 CJ 443 Housing/                             Sentence                                                                     26 USC7609                              Agency Decision
    CJ 245 Tort Product Liability                Accommodations             CJ 530 General                                                                                                       CJ 950 Constitntionality of
    CJ 290 All Other Real Property       CJ 445 Amer. w/Disabilities.       ['.) 535 Death Penalty                                                                                                        State Statutes
                                                 Employment                      Other:                          CJ 462 Naturalization Application
                                         CJ 446 Amer. w/Disabilities •      CJ 540 Mandamus & Other              CJ 465 Other Immigration
                                                 Other                      CJ 550 Civil Rights                         Actions
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                                                                            CJ 560 Civil Detainee •
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                                              Universi         fraudulent! dismissed laintiff. withholds transcri ts and claims refund amount is not a refund but is owed to scho1
    VII. REQUESTED IN     0                         CHECK IF THIS IS A CLASS ACTION                                 DEMAND$                                          CHECK YES only if demanded in complaint:
         COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                          64,319                                         JURY DEMAND:                      J.: Yes         CINo

    VIII. RELATED CASE(S)
                                                   (See instroctlons):
          IF ANY                                                            JUDGE                                                                             DOCKET NUMBER
    DATE                                                                        SIGNATURE OF ATTORNEY OF RECORD
    611912018                                                                  Isl Daniel Caldwell                     ·-r ·.
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